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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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  NICHOLAS GALELLI, et al.,

                                               Plaintiffs,
                                                                     ORDER
                   -against-                                         CV 08-3372 (LDW)(ARL)

  CROWN IMPORTS, LLC, et al.,

                                               Defendants,
  --------------------------------------------------------------X
  LINDSAY, Magistrate Judge:

         On September 28, 2010, the parties appeared before the undersigned to address several
  pending discovery motions including the plaintiff’s motion to compel the defendant Extrade II,
  S.A. de C.V. (“Extrade”) to produce certain documents. The motion was resolved on the record
  with the exception of the plaintiff’s request to compel Extrade to produce documents that it
  withheld on the basis of the attorney-client privilege. Extrade argued that “the documents were
  made in the course of an on-going enterprise,” and thus, were protected by the common interest
  doctrine.

          “The common interest doctrine ‘is an exception to the general rule that voluntary
  disclosure of confidential, privileged matter to a third party waives an applicable privilege.’” See
  HSH Nordbank AG N.Y. Branch v. Swerdlow, 259 F.R.D. 64, 71 (S.D.N.Y. 2009)(citing Sokol v.
  Wyeth, Inc., 2008 U.S. Dist LEXIS 60976 (S.D.N.Y. Aug. 4, 2008)). It precludes a finding of
  waiver where the confidential communication is “made in the course of an ongoing common
  enterprise and intended to further the enterprise.” Id. In order to demonstrate the applicability of
  the common interest doctrine, the party asserting the rule must show that (1) it “share[s] a
  common legal interest with the party with whom the information was shared” and (2) “the
  statements for which protection is sought [must have been] designed to further that interest.” Id.

          Although Extrade argues that it is “responsible for purchasing beer from breweries and
  supplying it to Crown Imports LLC,” Extrade has not specifically identified the nature of its
  relationship with Safeway Risk Management, Interproteccion, S.A. de C.V., Grupo Modelo,
  Mark Stein Beverages, Freese and Gianelli Claims Service, and Chris Kane, nor has it explained
  how theses entities and individuals are involved in the enterprise. Accordingly, the court cannot
  resolve the application based on the material before it. By October 22, 2010, Extrade is directed
  to supplement its submission and provide the court with detailed information concerning the
  common enterprise and the individuals and entities involved in the withheld communications.


  Dated: Central Islip, New York                               SO ORDERED:
         October 12, 2010                                                 /s/
                                                              ARLENE ROSARIO LINDSAY
                                                              United States Magistrate Judge
